Case 6:19-cv-00644-CEM-GJK Document 85 Filed 07/19/21 Page 1 of 1 PageID 798




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


SAUL HYMES, ILANA
HARWAYNE-GIDANSKY,
EDGAR FIERRO, and JOAN
LEWIS,

                    Plaintiffs,

v.                                                  Case No. 6:19-cv-644-CEM-GJK

EARL ENTERPRISES
HOLDINGS, INC.,

                    Defendant.
                                       /

                                       ORDER
      THIS CAUSE is before the Court on Plaintiffs’ Notice of Voluntary Dismissal

without Prejudice (Doc. 84). Pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), the Clerk of Court is directed to close this case.

      DONE and ORDERED in Orlando, Florida on July 19, 2021




Copies furnished to:

Counsel of Record



                                      Page 1 of 1
